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               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                     3:13-CR-00094-BR

          Plaintiff,                          OPINION AND ORDER

v.

FRANCISCO JAVIER RODRIGUEZ,

          Defendant.


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BROWN, Judge.

     This matter comes before the Court on Defendant’s Motion

(#22) to Suppress Evidence Obtained from Search Warrant.              For the

reasons that follow, the Court GRANTS in part and DENIES in part

Defendant’s Motion.   The Court also requires an additional

evidentiary hearing in order to resolve the remaining issues as

described herein.



                               BACKGROUND

     In March 2011 the government began investigating multiple

targets in an operation deemed "Operation Aguagiestas" related to

a drug-trafficking organization known as the Pulido Drug

Trafficking Organization (Pulido DTO).        In September 2012 the

government sought and obtained judicial authorization for

wiretaps from United States District Court Judges Marco A.

Hernandez and Michael W. Mosman that authorized wiretapping and

interception of telephone calls and text messages from various

targets of the Pulido DTO investigation.         In the course of

federal investigators intercepting such calls and text messages,

Defendant Francisco Javier Rodriguez came to the investigators’

attention on September 26, 2012, when he made two telephone calls

to Alejandro Torres-Oceguera (Torres), who was one of the primary

subjects of the wiretaps.

     On February 13, 2013, a grand jury indicted eight Pulido DTO


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defendants, including Torres, with various drug-conspiracy

charges in United States v. Doe, 3:13-CR-00059-MO.              On

February 14, 2013, the government obtained ten federal search

warrants as part of its ongoing investigation.              One of those

warrants, authorized by Magistrate Judge Dennis James Hubel,

permitted the search of Defendant's residence located at 13904

S.E. Woodward Street, Portland, Oregon.         When they executed that

search warrant on February 15, 2013, agents seized heroin, over

450 grams of marijuana, six small marijuana plants, handguns,

ammunition, a scale with heroin residue, drug-packaging material,

multiple cell phones, and $49,745 in cash.

     On February 28, 2013, a grand jury indicted Defendant with

one count of Conspiracy to Distribute and Possess with Intent to

Distribute Heroin in violation of 18 U.S.C. §§ 841(a)(1),

841(b)(1)(C), and 846; one count of Possession with the Intent to

Distribute Heroin in violation of 18 U.S.C. §§ 841(a)(1) and

841(b)(1)(C); one count of Possession with the Intent to

Distribute Marijuana in violation of 18 U.S.C. §§ 841(a)(1) and

841(b)(1)(D); one count of Possession of a Firearm in Furtherance

of a Drug Trafficking Crime in violation of 18 U.S.C.

§§ 841(a)(1), 841(b)(1)(C), 841(b)(1)(D), and 846; and criminal

forfeiture.

     On September 6, 2013, Defendant filed his Motion to Suppress

Evidence Obtained from Search Warrant.


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     On October 28, 2013, the Court conducted a hearing on

Defendant’s Motion.    At the hearing the parties agreed the only

evidence on which they intended to rely was the Affidavit of

Special Agent Carrie Hutchison filed in support of the February

2013 search-warrant application.       Shortly after the hearing the

Court requested the parties to file supplemental briefs no later

than November 4, 2013, to address whether Hutchison’s Affidavit

provided probable cause to authorize a search for firearms in

Defendant’s residence.       The Court took this matter under

advisement on November 4, 2013.



                                DISCUSSION

     Defendant moves to suppress all of the evidence obtained

from the February 15, 2013, search of his residence on the

grounds that the February 14, 2013, warrant that authorized the

search was not supported by probable cause particular to him and

there is not any applicable good-faith exception as set out in

United States v. Leon, 468 U.S. 897 (1984), on which the

searching officers may have relied under the circumstances of

this case.

I.   Probable cause to support a search-warrant standard

     The Warrant Clause of the Fourth Amendment requires

             compliance with two related but distinct rules.
             First, [a search warrant] must describe the place
             to be searched or things to be seized with


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          sufficient particularity, taking account of the
          circumstances of the case and the types of items
          involved. Second, it must be no broader than the
          probable cause on which it is based.

United States v. Gourde, 382 F.3d, 1003, 1008 (9th Cir. 2004).

Id. (internal citations omitted).

     The role of a judge in reviewing a search-warrant

application is to determine whether, "’given all the

circumstances set forth in the affidavit, . . . there is a fair

probability that contraband or evidence of a crime will be found

in a particular place.’"        United States v. Tan Duc Nguyen, 673

F.3d 1259, 1263 (9th Cir. 2012)(quoting Illinois v. Gates, 462

U.S. 213, 238 (1983)).        “‘A magistrate judge's finding of

probable cause is entitled to great deference.’”              United States

v. Rios, 434 F. App’x 648, 650 (9th Cir. 2011)(quoting United

States v. Crews, 502 F.3d 1130, 1135 (9th Cir. 2007)).               A court

“will not find a search warrant invalid if the magistrate judge

had a substantial basis for concluding that the supporting

affidavit established probable cause.’”           In contrast, "[a]

reviewing court should find that probable cause is not met when

the issuing judge lacked a 'substantial basis [to] . . .

conclude’ that probable cause existed.”           United States v.

Underwood, 725 F.3d 1076, 1081 (9th Cir. 2012)(quoting Gates, 462

U.S. at 238-39).

     The Ninth Circuit explained in Underwood:

          Conclusions of the affiant unsupported by

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           underlying facts cannot be used to establish
           probable cause. See United States v. Cervantes,
           703 F.3d 1135, 1139–40 (9th Cir. 2012)(affording
           little if any weight to detective's conclusory
           statement that, based on his training and
           experience, the box in defendant's possession came
           from a suspected narcotics stash house). . . . An
           affidavit must recite underlying facts so that the
           issuing judge can draw his or her own reasonable
           inferences and conclusions; it is these facts that
           form the central basis of the probable cause
           determination.

Id. (citations omitted).

II.   The search-warrant application

      As noted, Defendant contends the February 14, 2013, search

warrant was not supported by probable cause particular to him.

Defendant emphasizes the warrant application reflected as to

Defendant only two telephone calls on September 26, 2012, five

months before the warrant application; geolocation and

surveillance data from the same date; an October 2012 claim by an

unreliable and uncorroborated informant who said Defendant was a

heroin dealer; and the opinion of the agent who sought the

warrant regarding general practices of drug traffickers.

      Specifically, the Affidavit of Special Agent Carrie

Hutchison supporting the warrant notes the following with respect

to Defendant:

           Subject Location-WOODWARD: 13904 SE Woodward
           Street, Portland, Oregon (hereinafter referred to
           as the Subject Location-WOODWARD), is a single
           family residential property, utilized by Francisco
           Javier Rodriguez (hereinafter referred to as
           RODRIGUEZ), who is a drug distributor for the


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          PULIDO DTO. Power subscriber is listed as
          Francisco RODRIGUEZ. Subscriber information for
          phone number 971-227-5814, is listed as Francisco
          RODRIGUEZ at Subject Location-WOODWARD. This
          phone number was intercepted over TT4, engaging in
          pertinent drug related conversation.

                                    * * *

          Francisco RODRIGUEZ, is a Hispanic male, DOB
          XXIXX/1989, FBI number 336749VC3, believed to
          reside at 13904 SE Woodward Street, Portland, OR
          (Subject Location-WOODWARD). Criminal history
          records indicate RODRIGUEZ has been convicted of a
          misdemeanor for ORS 811.540 Attempt Elude Police
          Officer-Vehicle on June 16,2008. RODRIGUEZ is
          believed to be a Retail Dealer for the PULIDO DTO,
          intercepted during T-III operations, engaged in
          pertinent drug related conversation.

                                    * * *

          During the course of this investigation,
          investigators have established Subject Location-
          WOODWARD as Francisco Javier RODRIGUEZ's primary
          residence through surveillance, power subscriber
          and T-III intercepts as further described herein.
          While residing at Subject Location-WOODWARD,
          TORRES delivered narcotics to and collected drug
          proceeds from RODRIGUEZ. The following
          surveillance/T-III intercepts are a sampling from
          the investigation revealing RODRIGUEZ historical
          use of Subject Location-WOODWARD to further the
          drug conspiracy in violation of Title 21 USC 846.

          On, September 26, 2012, at approximately 1226
          hours, investigators monitoring TT1- TORRES
          received an incoming call from phone number
          971-227-5814, subscribed to Francisco RODRIGUEZ at
          Subject Location-WOODWARD (Session #289). During
          the conversation, RODRIGUEZ stated that he needed
          "something" for today or tomorrow. TORRES asked
          RODRIGUEZ if RODRIGUEZ wanted the "same," which
          RODRIGUEZ confirmed. At approximately 2213 hours,
          investigators monitoring TT1-TORRES, intercepted a
          call between RODRIGUEZ and TORRES. During the
          conversation, RODRIGUEZ asked if TORRES would come

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          by "today" or '"tomorrow."        TORRES replied, "I'll
          come over right now."

          On September 26, 2012, at approximately 2308
          hours, geo-location data on TT1-TORRES showed
          TORRES in the area of Subject Location-WOODWARD.
          At approximately 2115 hours, Homeland Security
          Investigations (HSI) Special Agent Burke observed
          a 2004 Acura TSX bearing Oregon License Plate
          490FBF, registered to RODRIGUEZ at Subject
          Location-WOODWARD, parked in the driveway at
          Subject Location-WOODWARD.

          In October 2012, a Confidential Source (CS)
          utilized by DEA Task Force Officer Roelof,
          identified RODRIGUEZ by his Oregon Driver's
          License photograph as a heroin dealer in Portland,
          OR.

                                    * * *

          On February 2, 2013, surveillance personnel
          observed a black BMW bearing Oregon License plate
          416FPM, registered to RODRIGUEZ at Subject
          Location-WOODWARD.

          On February 5, 2013, surveillance personnel
          observed RODRIGUEZ at the Subject Location-
          WOODWARD.

          Based upon the investigation to date, my training
          and experience and wire intercepts, I believe that
          TORRES delivered an unknown amount of drugs to
          RODRIGUEZ at the Subject Location-WOODWARD and
          that RODRIGUEZ is a retail dealer and facilitator
          for the PULIDO DTO and that evidence of a drug
          conspiracy will be located at Subject
          Location-WOODWARD.

Aff. of Carrie Hutchison at ¶¶ 2(g), 17, 99-102, 104-06.

III. Probable-cause analysis

     Defendant relies primarily on United States v. Underwood and

United States v. Wagner, 989 F.2d 69 (2d Cir. 1993), to support


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his position that the February 14, 2013, search warrant was not

supported by probable cause as to him.

     In Underwood the Drug Enforcement Administration (DEA) and

the Beverly Hills Police Department conducted a wiretap

investigation into a suspected drug-trafficking organization

headed by Underwood's co-defendant, Jimmy Luong (Luong DTO).               In

April 2010 agents followed Luong and Tony Barrera, another one of

Underwood's co-defendants, from Barrera's residence to a Home

Depot parking lot where agents observed Luong and Barrera meeting

with Underwood and transferring two large unmarked crates from

Underwood's vehicle to their own.      Agents used surveillance to

track the two crates to a Luong DTO stash house where the crates

were subsequently seized and found to contain thousands of

ecstasy pills.   725 F.3d at 1078.     On July 22, 2010, federal

agents, assisted by local law enforcement including Los Angeles

Police Department Detective James Kaiser, simultaneously executed

search warrants for fifteen residences, stash houses, and

vehicles.   DEA Agent Peter Johnson prepared the 102–page

affidavit in support of the federal search warrants.             Underwood

did not challenge the federal search warrant.           Id.    One of the

federal warrants was executed at a house on Cantrece Lane in

Cerritos, California, that was believed to be Underwood's home.

Officers found only Underwood's mother, who told them that

Underwood actually lived on Mansa Drive in La Mirada, California.


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Id. at 1079.   A search of the Cantrece Lane house did not reveal

any evidence of drug trafficking.          Agents arrested Underwood

later on July 22, 2010, at the Mansa Drive house and conducted a

protective sweep of the house.      During that sweep agents observed

a clear zip-lock bag containing a personal-use amount of

marijuana on a table in the living room.           Id.   Underwood refused

to give consent to a full search of the house.               DEA Agent

Johnson, therefore, instructed local officers to obtain a state

search warrant for the Mansa Drive house as soon as possible.

LAPD Detective Kaiser was assigned the task of securing the

warrant.   To assist Kaiser with the task, Johnson emailed Kaiser

a summary of the case against Underwood based on the federal

affidavit and an explanation of why Johnson believed evidence

would be found at the Mansa Drive house.           Kaiser cut and pasted

some, but not all, of the information in the federal warrant into

an affidavit supporting the state warrant.           Id.      As a result, the

state affidavit did not include any factual details of “other

seizures” to support Kaiser's stated belief that the crates

contained 260,000 pills of ecstasy.         The agents’ observation of

Underwood delivering two wooden crates to Luong and Barrera was

the only factual support for the conclusion that Underwood was a

“courier” for the Luong DTO.      Based on Kaiser's affidavit, a Los

Angeles Superior Court judge issued a search warrant for the

Mansa Drive house on July 22, 2010.         The judge did not ask to


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review the federal affidavit referenced in Kaiser's state

affidavit.   The search pursuant to the state warrant resulted in

the seizure of thirty-three kilograms of cocaine, $417,000 in

cash, 104 ecstasy pills, packaging material, a money counter, and

a “pay/owe” sheet.     Id. at 1080.

     Underwood moved to suppress the evidence seized in the

search of the Mansa Drive house on the grounds that the affidavit

supporting the state search warrant for Mansa Drive lacked

probable cause and the good-faith exception to the exclusionary

rule established in Leon did not apply because the affidavit was

a “bare bones” affidavit that lacked indicia of probable cause.

     The district court granted the motion to suppress because

the affidavit supporting the state search warrant merely set

forth conclusory allegations and only contained two facts:

Underwood's delivery of undescribed crates to Luong three months

before the warrant application and the observation of a

personal-use amount of marijuana in Underwood's home.              The

district court further concluded the good-faith exception did not

apply because the affidavit did not make a colorable showing of

probable cause and, therefore, was a “bare bones” affidavit.                The

government appealed.

     The Ninth Circuit affirmed the district court and concluded:

"When viewed in the totality of the circumstances, the affidavit

here fails to provide a sufficient basis for probable cause."


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Id. at 1082.   The court noted:

          First, the affidavit describes Detective Davis's
          observation of a baggie of a personal-use amount
          of marijuana at Underwood's Mansa Drive home
          during the protective sweep. Although this
          description is a sufficiently detailed factual
          allegation, it lacks a nexus with ecstasy
          trafficking and therefore does not support the
          conclusion that Underwood is a ecstasy trafficker
          . . . . [T]he personal-use amount of marijuana
          observed in Underwood's home fails to support the
          conclusion that Underwood is a courier for an
          ecstasy trafficking organization or that evidence
          of such trafficking would be found at Underwood's
          home.

          Second, the fact that agents observed Underwood
          deliver two wooden crates to Luong and Barrera on
          one occasion three months before the warrant
          application hardly supports the conclusion that
          Underwood is a drug courier working for Luong.
          The affidavit does not make any other factual
          assertions indicating that Underwood made other
          deliveries to Luong or Barrera or even had contact
          with Luong or Barrera at any other time.
          Moreover, the affidavit neither includes a
          description of the crates, nor any other facts
          that would indicate that the crates contained
          ecstasy. We afford little to no weight to the
          statement, “Based on other seizures in this
          investigation, I believe the crates contained
          approximately 260,000 pills of MDMA.” This
          statement adds the general fact that the
          investigation resulted in seizures. Unlike in the
          federal affidavit, however, the statement is not
          accompanied by an explanation of the nature of the
          seizures—for example, what was seized and where
          the seizures took place. This statement is thus a
          bare conclusion because it provides no underlying
          facts about the seizures from which the issuing
          judge could draw his or her own conclusion about
          how, if at all, the seizures indicate that the two
          crates contained ecstasy.

          Third, the affidavit contained Johnson's beliefs
          about drug traffickers' general habits based on
          Johnson's experience and training, including that

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          drug traffickers often keep records from drug
          transactions at their residences. . . . [T]he
          affidavit[, however,] not only fails to define
          “drug trafficker” but it also provides no facts to
          support the conclusion that Underwood is in the
          business of buying and selling ecstasy. Moreover,
          the affidavit does not even assert that Underwood
          is a drug trafficker.

                                     * * *

          Detective Kaiser's statement that a federal
          warrant had previously issued in the case for a
          different residence does not add any indicia of
          probable cause to the state affidavit. First,
          neither the federal warrant nor the 102–page
          federal affidavit were attached to the state
          affidavit. In this situation, the mere assertion
          of the prior issuance of the federal warrant for a
          different property should not be treated as a
          “supporting fact or circumstance” for probable
          cause purposes.

Id. at 1082-84.

     Underwood, however, is distinguishable from this case.                 As

the Court noted at the October 28, 2013, hearing in this matter,

Hutchison’s Affidavit is sufficient to establish there was a fair

probability in September 2012 that (1) there was a drug-

trafficking organization then operating in Portland, Oregon;

(2) Torres was a drug supplier within that organization; (3) the

telephone conversations on September 26, 2012, between Defendant

and Torres involved an order for controlled substances; (4) the

use of the words “the same” in the first conversation indicates

that on at least one prior occasion Defendant and Torres had

engaged in a similar drug transaction; and (5) the convergence of

Torres and Defendant in the vicinity of Defendant’s house after

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the conversations indicates there was likely a transfer of

controlled substances between them on that date.

     Thus, Agent Hutchison’s Affidavit provides significantly

more factual support for the probability that Defendant was

involved in the Pulido DTO as of September 2012 than the scant

factual record provided in the affidavit to support the search

warrant in Underwood.    Nevertheless, Defendant emphasizes, and

the Court agrees, there are not any facts set out in Hutchison’s

Affidavit that establish Defendant continued to interact with

Torres or the drug-trafficking organization after September

2012.1

     In response, the government points to Paragraph 116 in the

Affidavit in which Agent Hutchinson testifies that drug

traffickers often retain at their residences a laundry list of

items such as currency, records, money-counting machines,

cellular telephones, firearms, and goods used in the manufacture

of controlled substances.      Although the government contends this

assertion is enough to support a conclusion that there was a fair

probability in February 2013 that all of these kinds of items

would then be found in Defendant’s residence, the government does

not offer any case precedent nor has the Court found any


     1
       Because the October 2012 statement of the confidential
informant lacks indicia of reliability and is uncorroborated, it
does not provide any support for a probable-cause determination
in February 2013.


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authority to support the breadth of that proposition.

     Nevertheless, although it is a close question, this Court,

after considering the totality of the circumstances and giving

“great deference” to the Magistrate Judge’s finding of probable

cause, finds the facts that support the conclusion that Defendant

was trafficking in drugs in September 2012 also support a

reasonable inference that there was a fair probability in

February 2013 that certain items associated with drug trafficking

like currency, (transaction) records, money-counting machines,

and cellular telephones would then be found in Defendant’s

residence.    That inference is reasonable because currency from

drug transactions is not perishable and not necessarily likely to

be used up within five months; records of drug transactions on

cellular telephones or in other formats can be useful and,

therefore, retained for unpredictable periods; and the five-month

gap between the drug-transaction calls in September 2012 and the

warrant application in February 2013 does not reduce the “fair

probability” that drug-trafficking items like these would still

be present.

     Accordingly, the Court concludes there was probable cause in

February 2013 to issue the warrant to search Defendant’s

residence for this type of evidence relating to illegal drug

trafficking.

     On the other hand, and particularly in light of the five-


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month lapse between the intercepted telephone calls in September

2012 and the warrant application in February 2013, the Court

concludes Agent Hutchison’s Affidavit does not provide any

factual basis from which to conclude there was a fair probability

in February 2013 that controlled substances or firearms would be

found at Defendant’s residence.       As noted, there is not any

factual basis to conclude Defendant was still active in drug

transactions, and Hutchison’s Affidavit does not contain any

facts that suggest Defendant owned, had access to, or used

firearms.   Agent Hutchison’s general assertion that drug

traffickers “commonly have firearms in their possession” is

insufficient to create a fair probability that Defendant would

still have any firearms at his residence in February 2013 even if

he had them at the time that he was conducting a drug transaction

with Torres in September 2012.

      On this record the Court concludes Hutchison’s Affidavit did

not provide a factual basis to find probable cause to issue the

warrant with respect to controlled substances and/or firearms.2

IV.   The good-faith exception



      2
       The Court notes the Hutchinson Affidavit is 49 pages long
and contains information relating to ten residences and ten
targets of the investigation. It does not appear the Affiant
made any effort to highlight or to individualize for the
Magistrate Judge the probable-cause analysis applicable to
Defendant in contrast with the overwhelming evidence supporting
the issuance of search warrants for the residences of the others
who were the subject of the Affidavit.

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      "If a warrant lacks probable cause, evidence obtained during

its execution should generally be suppressed under the

exclusionary rule."     Underwood, 725 F.3d at 1084 (citing Mapp v.

Ohio, 367 U.S. 643, 655 (1961)).

           [S]ignificant exceptions to the [exclusionary]
           rule have developed. Under these exceptions,
           evidence seized pursuant to a defective warrant
           will not be suppressed. One such exception is the
           “good faith” exception established by Leon, which
           is satisfied if an officer acts “in objectively
           reasonable reliance” on the warrant. 468 U.S. at
           922, 104 S. Ct. 3405. To determine whether the
           officer acted in objectively reasonable reliance,
           “all of the circumstances—including whether the
           warrant application had previously been rejected
           by a different magistrate—may be considered.” Id.
           at 922 n.23; see also Messerschmidt v. Millender,
           ––– U.S. ––––, 132 S. Ct. 1235, 1249–50 (2012)
           (where the Supreme Court considered whether an
           officer had a superior review the challenged
           affidavit to determine if the officer acted in
           reasonable reliance, thus clarifying that courts
           can look beyond the four corners of the affidavit
           to consider extrinsic factors in the good faith
           analysis). The burden of demonstrating good faith
           rests with the government. United States v. Kow,
           58 F.3d 423, 428 (9th Cir. 1995).

Id.

      In Leon the Court concluded an "officer will have no

reasonable grounds for believing that the warrant was properly

issued" when, among other things, the affidavit supporting the

warrant is "so lacking in indicia of probable cause as to render

official belief in its existence entirely unreasonable."                468

U.S. at 922.

      "An affidavit is so lacking in indicia of probable cause, or


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bare bones, when it fails to provide a colorable argument for

probable cause."    Underwood, 725 at 1086 (citing United States v.

Hove, 848 F.2d 137, 139–40 (9th Cir. 1988).         "A colorable

argument is made when 'thoughtful and competent judges' could

disagree that probable cause does not exist."           Id. (quoting Hove,

848 F.2d at 139).

     Defendant relies on Underwood to support his assertion that

the good-faith exception does not apply to Hutchison’s Affidavit.

In Underwood the Ninth Circuit concluded the affidavit supporting

the state warrant was not entitled to the good-faith exception

because

          the affidavit fails to set forth a sufficient
          factual basis for the conclusion that Underwood is
          a courier for an ecstasy trafficking organization.
          The only fact with any degree of support for this
          conclusion is the observation that, three months
          before the warrant application for Mansa Drive,
          Underwood delivered two wooden crates to Luong and
          Barrera in a Home Depot parking lot. There are no
          accompanying facts in the affidavit to support the
          inferences that the crates contained ecstasy or
          that Underwood knew or should have known the
          crates contained ecstasy. Kaiser advanced DEA
          Agent Johnson's belief that the crates contained
          ecstasy, but did not provide underlying facts that
          could be used to judge the reasonableness of
          Johnson's belief.

          Moreover, the affidavit provides no factual basis
          for the conclusion that drug trafficking evidence
          would be found at Underwood's home. . . .
          [E]xpert opinion about drug traffickers keeping
          evidence of their crimes at their homes is
          foundationless because the affidavit did not
          assert that Underwood was a drug trafficker, and
          thus cannot be used to support probable cause.
          Further, even if we make the unreasonable

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          inferences that the crates contained drugs and
          that Underwood knew the crates contained drugs,
          Underwood delivered those crates to Luong and
          Barrera, who took them away from him. We thus
          cannot conclude that any drugs contained in those
          crates were in Underwood's possession, let alone
          at Underwood's house in particular. The affidavit
          does not assert that any other deliveries by
          Underwood to anyone else ever took place. Thus,
          it would also be unreasonable to conclude that
          Underwood ever possessed any other crates, let
          alone that such crates would be at Underwood's
          house.

Id. at 1086.    The court concluded the affidavit reasonably

supported three "innocent" conclusions:         "Underwood knows Luong

and Barrera; he helped Luong and Barrera move two crates on one

occasion; and Underwood possibly uses marijuana."             Id.   The court

found "[r]easonable judges would agree that probable cause did

not exist to search Underwood's Mansa Drive house because the

affidavit provides only the most attenuated support for the

conclusion that Underwood is a drug courier and no support for

the conclusion that drug trafficking evidence would be found at

Mansa Drive."    Id.

     As already noted, however, Hutchison’s Affidavit in this

case reasonably supported the conclusions that as of September

2012 (1) Defendant had at least two interactions with Torres that

likely involved the sale or transfer of narcotics; (2) Torres was

familiar enough with Defendant not to require Defendant to set

out a specific quantity, price, or delivery terms; and (3) Torres

knew the location of Defendant’s residence, all of which suggests


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a then-existing, ongoing relationship between Defendant and

Torres related to illegal substances.         Hutchison’s Affidavit also

sets out the suspected details of the Pulido DTO and Torres’s

relatively high-level status therein as well as Torres’s

suspected narcotics-trafficking activities.          Accordingly, even if

the Court is incorrect in concluding there was probable cause to

support a warrant to search for items like currency,

(transaction) records, money-counting machines, and cellular

telephones, the Court also concludes on this record that

Hutchison’s Affidavit was not so lacking in indicia of probable

cause as to render official belief in the existence of probable

cause to search for these items at Defendant’s residence entirely

unreasonable.   Thus, the good-faith exception to the warrant

requirement applies to the search for these items.

     The same cannot be said, however, about applying the good-

faith exception to that part of the warrant authorizing a search

for illegal drugs and/or firearms at Defendant’s residence.                  As

noted, there are not any specific facts in Hutchison’s Affidavit

connecting Defendant to still-active drug transactions or to any

ongoing illegal possession or use of firearms.              Specifically,

Hutchison’s general assertion that drug traffickers commonly have

firearms in their possession is insufficient to create a

colorable argument that firearms would be found at Defendant’s

residence in February 2013.


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V.   Plain view

     The government also argues Defendant’s Motion should be

denied to the extent that contraband or evidence was in “plain

view” when the warrant was lawfully executed.           The Ninth Circuit

has held officers may seize evidence in plain view when two

requirements are met:    “[T]he officers must be lawfully searching

the area where the evidence is found and the incriminatory nature

of the evidence must be immediately apparent.”              United States v.

Lemus, 582 F.3d 958, 964 (9th Cir. 2008)(quotation omitted).

     The government asserts in its Supplemental Response that

even if there was not probable cause in the Affidavit to search

Defendant’s residence for firearms,3 to the extent that the

officers were justified in entering Defendant’s residence to

search for drug-related evidence, they were lawfully permitted to

seize firearms in plain view.      The government, however, did not

present any evidence at the October 28, 2013, hearing related to

the firearms (and illegal drugs) discovered at Defendant’s

residence and, therefore, did not establish how the firearms and

illegal drugs were discovered.      Thus, the record before the Court

does not contain any evidence related to the issue of “plain

view,” and, accordingly, the Court concludes a second hearing is

necessary to receive evidence related to the search of

     3
       The Court assumes the government would make the same
contingent argument as to illegal drugs in light of the Court’s
analysis herein.

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Defendant’s residence, specifically addressing whether firearms,

illegal drugs, or other seized evidence not already permitted by

the Court’s analysis herein was, nevertheless, found in plain

view.

                                  CONCLUSION

        For these reasons, the Court GRANTS in part and DENIES in

part Defendant’s Motion (#22) to Suppress Evidence Obtained from

Search Warrant as follows:

        1.   The Court concludes there was probable cause to issue

             the warrant to search Defendant’s residence for

             evidence of certain non-perishable items commonly

             associated with drug trafficking such as currency,

             records, money-counting machines, and cellular

             telephones.    Even if there was not probable cause to

             search for these items, the Court also concludes the

             good-faith exception applies to the portion of the

             warrant authorizing the search for the above items.

             The Court, therefore, DENIES Defendant’s Motion as to

             that evidence.

        2.   The Court concludes there was not probable cause to

             issue the warrant to search Defendant’s residence for

             controlled substances or firearms and the good-faith

             exception does not apply to the portion of the warrant

             authorizing a search for illegal drugs or firearms.

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          The Court, therefore, GRANTS Defendant’s Motion as to

          that evidence.

     The Court will issue a separate Order setting the time for a

second evidentiary hearing in this matter to receive evidence

addressing whether firearms, illegal drugs, or other evidence was

found in plain view during the February 2013 search of

Defendant’s residence.

     IT IS SO ORDERED.

     DATED this 26th day of November, 2013.



                                           /s/ Anna J. Brown


                                           ANNA J. BROWN
                                           United States District Judge




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